       Case: 21-15758, 10/20/2022, ID: 12568438, DktEntry: 108, Page 1 of 3

                     UNITED STATES COURT OF APPEALS
                                                                  FILED
                             FOR THE NINTH CIRCUIT
                                                                  OCT 20 2022
                                                                 MOLLY C. DWYER, CLERK
                                                                  U.S. COURT OF APPEALS




In re: APPLE INC. DEVICE                     No. 21-15758
PERFORMANCE LITIGATION,
                                             D.C. No. 5:18-md-02827-EJD
------------------------------
                                             U.S. District Court for Northern
NAMED PLAINTIFFS AND                         California, San Jose
SETTLEMENT CLASS MEMBERS,
                                             MANDATE
               Plaintiff - Appellee,

 v.

SARAH FELDMAN; HONDO JAN,

               Objectors - Appellants,

  v.

APPLE INC.,

               Defendant - Appellee.




In re: APPLE INC. DEVICE                     No. 21-15761
PERFORMANCE LITIGATION,
                                             D.C. No. 5:18-md-02827-EJD
------------------------------
                                             U.S. District Court for Northern
NAMED PLAINTIFFS AND                         California, San Jose
SETTLEMENT CLASS MEMBERS,

               Plaintiff - Appellee,
       Case: 21-15758, 10/20/2022, ID: 12568438, DktEntry: 108, Page 2 of 3




 v.


BEST COMPANIES, INC.,

               Objector - Appellant,

  v.

APPLE INC.,

               Defendant - Appellee.




In re: APPLE INC. DEVICE                     No. 21-15762
PERFORMANCE LITIGATION,
                                             D.C. No. 5:18-md-02827-EJD
------------------------------
                                             U.S. District Court for Northern
NAMED PLAINTIFFS AND                         California, San Jose
SETTLEMENT CLASS MEMBERS,

               Plaintiff - Appellee,

 v.


DEBORAH PANTONI,

               Objector - Appellant,

  v.

APPLE INC.,

               Defendant - Appellee.
         Case: 21-15758, 10/20/2022, ID: 12568438, DktEntry: 108, Page 3 of 3


 In re: APPLE INC. DEVICE                      No. 21-15763
 PERFORMANCE LITIGATION,
                                               D.C. No. 5:18-md-02827-EJD
 ------------------------------
                                               U.S. District Court for Northern
 NAMED PLAINTIFFS AND                          California, San Jose
 SETTLEMENT CLASS MEMBERS,

                Plaintiff - Appellee,

  v.


 ANNA ST. JOHN,

                Objector - Appellant,

   v.

 APPLE INC.,

                Defendant - Appellee.


        The judgment of this Court, entered September 28, 2022, corrected October

11, 2022, takes effect this date.

        This constitutes the formal mandate of this Court issued pursuant to Rule

41(a) of the Federal Rules of Appellate Procedure.

                                               FOR THE COURT:

                                               MOLLY C. DWYER
                                               CLERK OF COURT

                                               By: Rebecca Lopez
                                               Deputy Clerk
                                               Ninth Circuit Rule 27-7
